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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

 GEORGE MOORE, on behalf of himself and              :
 others similarly situated,                          :    CIVIL ACTION FILE NO. 1:21-cv-975
                                                     :
        Plaintiff,                                   :
                                                     :
 v.                                                  :
                                                     :
 CARGUARD ADMINISTRATION, INC.,                      :
 and AUTO PROTECHT LLC,                              :
                                                     :
        Defendants.                                  :
                                                     :
                                                 /

                              NOTICE OF DISMISSAL WITH PREJUDICE

       The plaintiff files this Notice of Dismissal with prejudice pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i).


                                                         /s/ Anthony I. Paronich
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                                                         COUNSEL FOR PLAINTIFFS

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on this 26th
day of April, 2021 on all counsel of record via the Court’s CM/ECF system.


                                                         /s/ Anthony I. Paronich
                                                         Anthony I. Paronich
